IN THE UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TEXAS 2019 UL 19 PH 3: 46
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WESTERN | IRLRICT OF TEXAS
RICHARD MEYER, § By f
Plaintiff, § nedape
§
v. § CASE NO.: 1:18-CV-00800
§
MARK WAID, § (Jury Demanded)
Defendant. §

ORDER GRANTING UNOPPOSED MOTION TO EXTEND TIME TO FILE
REPLY TO DEFENDANT’S RESPONSE TO PLAINITFF’S MOTION FOR LEAVE
TO FILE FIRST AMENDED COMPLAINT

Before the Court is Plaintiff Richard Meyer’s Unopposed Motion to Extend Time to File
his Reply to Defendant’s Response to Plaintiff's Motion for Leave to File First Amended
Complaint [Dkt. 35]. Having considered the Motion and the pleadings and papers on file in this
cause, the Court is of the opinion that the Motion should be GRANTED.

IT IS THEREFORE ORDERED that Plaintiff Richard Meyer’s deadline to file his reply to

Defendant’s Response to Plaintiff's Motion for Leave to File First Amended Complaint has been

extended to July 23, 2019.

Dated this the OM aay of July, 2019.

 
